Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 1 of 58 PageID 14833




                      Exhibit 9
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 2 of 58 PageID 14834




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 1 of 57




                                        Exhibit 31, p. 1
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 3 of 58 PageID 14835




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 2 of 57




                                        Exhibit 31, p. 2
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 4 of 58 PageID 14836




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 3 of 57




                                        Exhibit 31, p. 3
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 5 of 58 PageID 14837




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 4 of 57




                                        Exhibit 31, p. 4
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 6 of 58 PageID 14838




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 5 of 57




                                        Exhibit 31, p. 5
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 7 of 58 PageID 14839




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 6 of 57




                                        Exhibit 31, p. 6
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 8 of 58 PageID 14840




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 7 of 57




                                        Exhibit 31, p. 7
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 9 of 58 PageID 14841




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 8 of 57




                                        Exhibit 31, p. 8
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 10 of 58 PageID 14842




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 9 of 57




                                        Exhibit 31, p. 9
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 11 of 58 PageID 14843




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 10 of 57




                                        Exhibit 31, p. 10
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 12 of 58 PageID 14844




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 11 of 57




                                        Exhibit 31, p. 11
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 13 of 58 PageID 14845




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 12 of 57




                                        Exhibit 31, p. 12
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 14 of 58 PageID 14846




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 13 of 57




                                        Exhibit 31, p. 13
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 15 of 58 PageID 14847




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 14 of 57




                                        Exhibit 31, p. 14
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 16 of 58 PageID 14848




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 15 of 57




                                        Exhibit 31, p. 15
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 17 of 58 PageID 14849




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 16 of 57




                                        Exhibit 31, p. 16
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 18 of 58 PageID 14850




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 17 of 57




                                        Exhibit 31, p. 17
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 19 of 58 PageID 14851




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 18 of 57




                                        Exhibit 31, p. 18
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 20 of 58 PageID 14852




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 19 of 57




                                        Exhibit 31, p. 19
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 21 of 58 PageID 14853




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 20 of 57




                                        Exhibit 31, p. 20
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 22 of 58 PageID 14854




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 21 of 57




                                        Exhibit 31, p. 21
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 23 of 58 PageID 14855




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 22 of 57




                                        Exhibit 31, p. 22
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 24 of 58 PageID 14856




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 23 of 57




                                        Exhibit 31, p. 23
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 25 of 58 PageID 14857




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 24 of 57




                                        Exhibit 31, p. 24
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 26 of 58 PageID 14858




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 25 of 57




                                        Exhibit 31, p. 25
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 27 of 58 PageID 14859




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 26 of 57




                                        Exhibit 31, p. 26
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 28 of 58 PageID 14860




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 27 of 57




                                        Exhibit 31, p. 27
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 29 of 58 PageID 14861




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 28 of 57




                                        Exhibit 31, p. 28
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 30 of 58 PageID 14862




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 29 of 57




                                        Exhibit 31, p. 29
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 31 of 58 PageID 14863




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 30 of 57




                                        Exhibit 31, p. 30
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 32 of 58 PageID 14864




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 31 of 57




                                        Exhibit 31, p. 31
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 33 of 58 PageID 14865




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 32 of 57




                                        Exhibit 31, p. 32
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 34 of 58 PageID 14866




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 33 of 57




                                        Exhibit 31, p. 33
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 35 of 58 PageID 14867




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 34 of 57




                                        Exhibit 31, p. 34
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 36 of 58 PageID 14868




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 35 of 57




                                        Exhibit 31, p. 35
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 37 of 58 PageID 14869




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 36 of 57




                                        Exhibit 31, p. 36
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 38 of 58 PageID 14870




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 37 of 57




                                        Exhibit 31, p. 37
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 39 of 58 PageID 14871




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 38 of 57




                                        Exhibit 31, p. 38
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 40 of 58 PageID 14872




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 39 of 57




                                        Exhibit 31, p. 39
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 41 of 58 PageID 14873




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 40 of 57




                                        Exhibit 31, p. 40
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 42 of 58 PageID 14874




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 41 of 57




                                        Exhibit 31, p. 41
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 43 of 58 PageID 14875




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 42 of 57




                                        Exhibit 31, p. 42
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 44 of 58 PageID 14876




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 43 of 57




                                        Exhibit 31, p. 43
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 45 of 58 PageID 14877




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 44 of 57




                                        Exhibit 31, p. 44
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 46 of 58 PageID 14878




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 45 of 57




                                        Exhibit 31, p. 45
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 47 of 58 PageID 14879




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 46 of 57




                                        Exhibit 31, p. 46
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 48 of 58 PageID 14880




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 47 of 57




                                        Exhibit 31, p. 47
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 49 of 58 PageID 14881




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 48 of 57




                                        Exhibit 31, p. 48
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 50 of 58 PageID 14882




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 49 of 57




                                        Exhibit 31, p. 49
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 51 of 58 PageID 14883




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 50 of 57




                                        Exhibit 31, p. 50
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 52 of 58 PageID 14884




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 51 of 57




                                        Exhibit 31, p. 51
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 53 of 58 PageID 14885




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 52 of 57




                                        Exhibit 31, p. 52
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 54 of 58 PageID 14886




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 53 of 57




                                        Exhibit 31, p. 53
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 55 of 58 PageID 14887




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 54 of 57




                                        Exhibit 31, p. 54
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 56 of 58 PageID 14888




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 55 of 57




                                        Exhibit 31, p. 55
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 57 of 58 PageID 14889




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 56 of 57




                                        Exhibit 31, p. 56
Case 6:21-md-03006-RBD-DAB Document 260-9 Filed 04/05/23 Page 58 of 58 PageID 14890




              Case 1:16-cv-00393-SEH Document 130-30 Filed 08/22/17 Page 57 of 57




                                        Exhibit 31, p. 57
